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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
                                                	  
 DISPLAY TECHNOLOGIES, LLC,

                                                       Civil Action No. 2:17-cv-00070-JRG-RSP
                      Plaintiff,
                                                          CONSOLIDATED LEAD CASE
               v.
                                                            JURY TRIAL DEMANDED
 HTC AMERICA, INC., et al.,

                        Defendants.

 ________________________________________/
                                                           Civil Action No. 2:17-cv-00068
 DISPLAY TECHNOLOGIES, LLC,
                                                            JURY TRIAL DEMANDED
                      Plaintiff,
               v.

 ZTE (USA) INC.,

                        Defendant.
 _____________________________________/

                      PLAINTIFF’S NOTICE OF COMPLIANCE WITH
                    PARAGRAPHS 1 AND 3 OF THE DISCOVERY ORDER

               Plaintiff Display Technologies, LLC (“Display”) by and through its

  undersigned counsel, hereby gives notice that it served upon Defendant’s counsel its Initial

  and Additional Disclosures pursuant to Paragraphs 1 and 3 of the Discovery Order.




 PLAINTIFF’S NOTICE OF COMPLIANCE                                                           PAGE 1
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                                             Respectfully submitted,

                                             /s/ Thomas C. Wright
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                                             ATTORNEYS FOR DEFENDANTS DISPLAY
                                             TECHNOLOGIES, LLC


                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 28th day of June, 2017, all counsel of record were
 served with this document in accordance with the applicable Federal Rules of Civil Procedure.


                                             /s/ Thomas C. Wright
                                             Thomas C. Wright




 PLAINTIFF’S NOTICE OF COMPLIANCE                                                          PAGE 2
